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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                               Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

              ROGER STONE’S MOTION TO ENJOIN HIS PROSECUTION

       Defendant, Roger J. Stone, Jr., moves for an injunction to end the prosecution against

him. The Appropriations Clause of the United States Constitution, (“No Money shall be drawn

from the Treasury, but in Consequence of Appropriations made by Law. . .”) has been violated

by a prosecution initiated by a public official whose function was not funded by Congress. U.S.

Const. Art. I, § 9 cl. 7. Such a violation requires that Stone’s prosecution be enjoined. That

violation is present here.

       Defendant, Roger Stone, has been charged with obstruction, lying to Congress, and

witness tampering under 18 U.S.C. §§ 1505, 1001, and 1512(b)(1), 2. He is not charged with

aiding or conspiring with Russian agents in order to hack, steal, or disseminate emails of the

Democratic National Committee, the Democratic Congressional Campaign Committee, or

Hillary Clinton's campaign chairman, John Podesta. On March 24, 2019, the Attorney General

issued a summary report of the Special Counsel’s Office investigation (“Report”), in which he

confirmed that no American, including the President of the United States (or Roger Stone),

conspired with any Russian agent to influence the 2016 presidential election. Attached as an

Exhibit, Attorney General’s March 24, 2019 letter to Judicial Committees.
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       Robert Mueller was an appointed Special Counsel. His Special Counsel’s Office was not

funded by monies approved by Congress; rather, the Department of Justice has been funding the

investigation from an unlimited account established in 1987 to fund independent counsels. In

1999 Congress, and the Department of Justice, specifically replaced the installing and

empowering of independent counsels, with special counsels, in order for the Attorney General to

have greater control over the investigations and to provide fiscal oversight of the budget by

Congress.

       A key element of fiscal oversight is specified funds from a congressionally approved

budget. Special Counsels are materially different from Independent Counsels, and the

Independent Counsel fund is not available to Special Counsels. This is not a technical

detail. The Constitution grants Congress spending power for a reason. By forcing Special

Counsel to seek congressional approval for its funding, Congress ensures that their investigations

are necessary, limited, and fair.

       The Special Counsel's Office that indicted Stone did not operate with congressionally

approved budget and funding. Therefore, its funding was in violation of Article I, §9, cl. 7. Since

the Special Counsel’s investigation of Roger Stone violated a fundamental clause of the

Constitution, the Special Counsel’s office lacked authority to investigate and prosecute Roger

Stone. The case against Stone should be enjoined. In the alternative, as argued in a companion

motion contemporaneously filed, the Indictment against him should be dismissed.

       The Appropriations Clause, U.S. Const. Art. I, § 9, cl. 7, prohibits the payment of money

from the Treasury unless it has been approved by an act of Congress. United States v. McIntosh,

833 F.3d 1163, 1174–75 (9th Cir. 2016):


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               [I]f DOJ were spending money in violation of § 542, it would be
               drawing funds from the Treasury without authorization by statute
               and thus violating the Appropriations Clause. That Clause
               constitutes a separation-of-powers limitation that Appellants can
               invoke to challenge their prosecutions.

       Thus, because here, the Department of Justice has been spending money in a manner not

authorized by the Constitution, the Appropriations Clause was violated. This separation of

powers violation can be raised by a defendant to challenge the act of prosecution. Id. An

injunction is warranted because Stone’s prosecution violates the Constitution.

       The Special Counsel’s Office should not have investigated Stone nor presented witnesses

to a grand jury sans an appropriation which complied with the Constitution. Even if the District's

United States Attorney’s Office is now sponsoring the prosecution against Stone, the Special

Counsel’s unapproved/unfunded actions so taint the continuing case, that an injunction is

warranted. The investigators, support staff, and lawyers who were all assigned to the Special

Counsel, were paid by a fund that was not authorized by Congress. The irreparable injury to the

Appropriations Clause, the constitutionally protected separation of powers, and the due process

right to not be prosecuted except in accordance with law, supports the remedy of a permanent

injunction.

                                        CONCLUSION

       The prosecution of Roger Stone should be enjoined.




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                                       Respectfully submitted,


                                       By: /s/ ______
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 12, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                                    By: /s/ Robert Buschel
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    United States Attorney’s Office for the             United States Depart of Justice
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